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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

 IN RE: HAIR RELAXER
                                                   MDL No. 3060
 MARKETING, SALES PRACTICES,
                                                   Master Docket Case No. 1:23-cv-
 AND PRODUCTS LIABILITY
                                                   00818 Honorable Mary M. Rowland
 LITIGATION

 Dorothy May,

        Plaintiff,

 v.

 L’OREAL USA, INC.; L’OREAL USA
 PRODUCTS, INC.; SOFT SHEEN-
 CARSON, LLC.; AFAM CONCEPT, INC.
 D/B/A JF LABORATORIES, INC.;
 HOUSE OF CHEATHAM, LLC;                           SHORT-FORM COMPLAINT AND
 BEAUTY BELL ENTERPRISES, LLC.                     JURY DEMAND
 F/K/A HOUSE OF CHEATHAM, INC.;
 LUSTER PRODUCTS, INC.; REVLON
 CONSUMER PRODUCTS                                  Civil Action No. 1:23-CV-1054
 CORPORATION; REVLON GROUP
 HOLDINGS, LLC.; REVLON, INC.;
 STRENGTH OF NATURE, LLC.;
 GODREJ SON HOLDINGS, INC.;
 DABUR INTERNATIONAL, LTD.;
 DABUR INTERNATIONAL USA, LTD.;
 NAMASTE LABORATORIES, LLC.;
 AND ADVANCED BEAUTY SYSTEMS,
 INC,

        Defendants.

       1.      Plaintiff, Dorothy May, incorporates by reference Plaintiffs’ Master Long Form

Complaint in In Re: Hair Relaxer Marketing, Sales Practices and Products Liability Litigation,

MDL 3060, filed as of May 15, 2023, as Document Number 106.

       2.      Plaintiff, Dorothy May, files this Complaint pursuant to CMO No. 2 and is to be
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bound by the rights, protections and privileges, and obligations of that CMO and other Orders of

the Court. Further, in accordance with CMO No. 2, Plaintiff hereby designates the United

States District Court for the Middle District of Louisiana as Plaintiff’s designated venue

(“Original Venue”). Plaintiff makes this selection based upon one (or more) of the following

factors :

        _x_    Plaintiff currently resides in Baton Rouge, LA;

        _x_    Plaintiff purchased and used Defendants’ products in Baton Rouge, LA;

        ___    The Original Venue is a judicial district in which Defendant _____________
               resides, and all defendants are residents of the State in which the district is located
               (28 U.S.C. § 1391(b)(1)).

        _x_     The Original Venue is a judicial district in which a substantial part of the events or
               omissions giving rise to the claim occurred, specifically (28 U.S.C. §
               1391(b)(2)):________________________________________________________
               ________.

        ___    There is no district in which an action may otherwise be brought under 28 U.S.C.
               § 1391, and the Original Venue is a judicial district in which Defendant
               ______________ is subject to the Court’s personal jurisdiction with respect to this
               action (28 U.S.C. § 1391(b)(3)).

        ___    Other reason (please explain): _________________________________________
               _________________________________________________________________.

        3.     For purposes of diversity jurisdiction, Plaintiff is a citizen of the State of
               Louisiana.

        4.     Plaintiff is suing the following Defendants, and for purposes of diversity, whose

               State of Incorporation/Formation and Principal Place of Business is as follows:
  Check All                                                             State of         Principal Place
                                    Defendant
  Applicable                                                        Incorporation              of
  Defendants                                                        or Formation            Business
       □          AFAM Concept, Inc. d/b/a JF Labs, Inc.               Illinois             Illinois

       □          Avlon Industries                                     Illinois             Illinois

       □          Beauty Bell Enterprises LLC f/k/a House of
                  Cheatham, Inc.
                                                                       Georgia              Georgia



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  Check All                                                           State of         Principal Place
                                   Defendant
  Applicable                                                       Incorporation             of
  Defendants                                                       or Formation           Business
       □         Dabur International Ltd.                         Isle of Man         Dubai

       □         Dabur International USA Ltd.                     India               Illinois

       □         Dermoviva Skin Essentials, Inc.                  Delaware            New Jersey

       □         Godrej SON Holdings, Inc.                        Georgia             Georgia

       □         House of Cheatham LLC                            Delaware            Georgia

       □         L’Oréal USA, Inc.                                Delaware            New York

       □         L’Oréal USA Products, Inc.                       Delaware            New York

       □         Luster Products, Inc.                            Illinois            Illinois

       □         McBride Research Laboratories, Inc.              Georgia             Georgia

       □         Namaste Laboratories LLC                         Illinois            Illinois

       □         Revlon Consumer Products Corporation             Delaware            New York

       □         Revlon Group Holdings LLC                        Delaware            Delaware

       □         Revlon, Inc.                                     Delaware            New York

       □         SoftSheen-Carson LLC                             New York            New York

       □         Strength of Nature, LLC                          Georgia             Georgia

       □         Other (Please identify):
                 Advanced Beauty Systems
                 ____________________________________             Texas
                                                                  __________          Texas
                                                                                      __________

       □         Other (Please identify):
                 ____________________________________             __________          __________

       □         Other (Please identify):
                 ____________________________________             __________          __________


                            CASE SPECIFIC FACTS REGARDING
                       HAIR RELAXER PRODUCT USE AND INJURIES

       5.      Upon information and belief, Plaintiff began using hair relaxer products on or

about 1982 at approximately Twenty-Three (23) years of age, and stopped using hair relaxer

products on or about 2016.

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          6.       Upon information and belief, Plaintiff used the following hair relaxer products,

  which Plaintiff contends caused and/or contributed to her injury(ies) and brings claims against the

  following Defendants:


      Defendant                        Product List (Select All Applicable Products)
                          □ Hawaiian Silky - Crème Conditioning No Lye Silky Smooth Sheen
                            Relaxer
                          □ Hawaiian Silky - Herbal No Lye Conditioning Relaxer System with Tea
                            Tree & Avocado Oil - 2 Applications
                          □ Vitale - Olive Oil Anti-Breakage Relaxer No Base with Shea Butter -
AFAM Concept, Inc.          Regular Strength
d/b/a JF Labs, Inc.       □ Vitale Pro - New Texture Salon Exclusive Hair Relaxer
                          □ Vitale Mo'Body - Shea Butter Sensitive Scalp Relaxer with Oatmeal
                            Protein
                          □ Vitale - Life and Body - Hair Relaxer with Aloe Vera - Smooth Silky
                            Texture
                          □ Other (please specify): _______________________________

Avlon Industries, Inc.    □ Affirm Crème Relaxer
                          □ Affirm Sensitive Scalp Relaxer
                          □ Affirm Dry & Itchy Scalp Relaxer
                          □ Affirm FiberGuard Conditioning Crème Relaxer
                          □ Affirm FiberGuard Sensitive Scalp Conditioning Relaxer
                          □ Other (please specify): _______________________________________

Beauty Bell               □ Africa’s Best Herbal Intensive No-Lye Relaxer System
Enterprises, LLC          □ Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
f/k/a House of            □ Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
Cheatham, Inc.               Extra Virgin Olive Oil
                          □ Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer
                             System
                          □ Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                          □ Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                          □ Texture My Way Men’s Texturizing Kit
                          □ Texture My Way Women’s Texturizing & Softening System
                          □ Other (please specify): ___________________________________

House of Cheatham,        □ Africa’s Best Herbal Intensive No-Lye Relaxer System
LLC                       □ Originals by Africa’s Best Originals Olive Oil Conditioning Relaxer
                          □ Organics by Africa’s Best Olive Oil Conditioning Relaxer System with
                            Extra Virgin Olive Oil
                          □ Originals by Africa’s Best Kids Originals Natural Conditioning Relaxer

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     Defendant                     Product List (Select All Applicable Products)
                          System
                      □   Organics by Africa’s Best Kids Organic Conditioning Relaxer System
                      □   Organics by Africa’s Best Kids Natural Conditioning Relaxer System
                      □   Texture My Way Men’s Texturizing Kit
                      □   Texture My Way Women’s Texturizing & Softening System
                      □                           Africa's Best Shea Butter
                          Other (please specify): _________________________________

                      □ Dark and Lovely Beautiful Beginnings No-Mistake Smooth Relaxer
                      □ Dark and Lovely Beautiful Beginnings No Mistake Curl Softener
                      □ Dark and Lovely Healthy Gloss 5 Shea Moisture No Lye Relaxer
                      □ Dark and Lovely Triple Nourished Silkening Relaxer
                      □ Optimum Salon Haircare Defy Breakage No-Lye Relaxer
                      □ Optimum Salon Haircare Amla Legend Relaxer
                      □ Optimum Care Bodifying Relaxer
L’Oréal USA, Inc./    □ Optimum Multi-Mineral Reduced pH Crème Relaxer
L’Oréal USA
                      □ Bantu No Base Relaxer
Products, Inc./
                      □ Ultra Precise No-Lye Conditioning Relaxer
SoftSheen-Carson
LLC                   □ Mizani Butter Blend Relaxer
                      □ Mizani Butter Blend Sensitive Scalp Rhelaxer
                      □ Mizani Butterblend Prosolvent Relaxer
                      □ Mizani Classic Rhelaxer
                      □ Mizani Sensitive Scalp Rhelaxer
                      □ Care Free Curl – Cold Wave Chemical Rearranger Super Strength
                      □ Look of Radiance Permanent Crème Relaxer Kit
                      □ Other (please specify): ___________________________________

                      □ Luster’s Pink Oil Moisturizer No-Lye Conditioning Relaxer
                      □ Luster’s Pink Oil Moisturizer Short Looks Texturizer
                      □ Luster’s Pink Oil Moisturizer Smooth Touch Relaxer
                      □ PCJ Kit
                      □ PCJ No Lye Kit - Adult
Luster Products
                      □ PCJ No Lye Kit - Children’s
Company
                      □ ShortLooks Colorlaxer Diamond Black
                      □ ShortLooks Colorlaxer Passion Red
                      □ ShortLooks Colorlaxer Sable Brown
                      □ Other (please specify):______________________________________

                      □ Design Essentials Honey Nectar Relaxer Kit - Time Release Regular
                        Strength
McBride Research      □ Design Essentials Sensitive Scalp Relaxer System
Laboratories          □ Design Essentials Regular Conditioning Relaxer
                      □ Other (please specify): _______________________________


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     Defendant                       Product List (Select All Applicable Products)
                       □   ORS Olive Oil Built-In-Protection No-Lye Relaxer – Full Application
                       □   ORS Olive Oil No-Mix Salon Formula Crème Relaxer
                       □   ORS Olive Oil Ultra Nourish Crème Hair Relaxer
                       □   ORS Olive Oil Built-In-Protection No-Lye Relaxer – New Growth
                       □   ORS Olive Oil Zone Relaxer – Targeted Touch-Up No-Lye Hair
                           Relaxer
                       □   ORS Olive Oil Curl Stretching Texturizer
                       □   ORS Olive Oil Crème on Crème Touch-Up No-Lye Hair Relaxer
                       □   ORS Olive Oil Mild Touch Relaxer with 60% Lower Chemical
                       □   ORS Olive Oil Texlax and Stretch Semi-Straightening System
                       □   ORS Olive Oil Girls Built-In Protection Plus No-Lye Conditioning Hair
Namaste Laboratories       Relaxer System
                       □   ORS Olive Oil Girls Soft Curls No-Lye Crème Texture Softening
                           System
                       □   ORS HAIRepair No-Lye Conditioning Relaxer System with Cuticle
                           Shield
                       □   ORS Olive Oil Professional No-Lye Relaxer Kit
                       □   ORS Olive Oil Professional Crème Relaxer
                       □   Namasté Salon System Triple Emulsion Relaxer
                       □   Namasté Salon System Crème Relaxer
                       □   Namasté Salon System Conditioning Sensitive Scalp No-Lye Relaxer
                       □   Namasté Salon System Crème Relaxer Salon Trial Pack
                       □   (Other (please specify): ________________________________

                     □ African Pride – No Lye Relaxer Kit
                     □ African Pride – No Base Relaxer
                     □ African Pride – Multi Length Texturizer Kit
                     □ African Pride – Dream Kids No Lye Relaxer Kit
                     □ All Ways Natural – No Lye Conditioning Crème Relaxer Kit
                     □ Arosci Aromaphoric Relaxer System
                     □ Crème Of Nature Relaxer Cream
Revlon, Inc./ Revlon
                     □ Crème Of Nature Relaxer Kit Argan Oil
Consumer Products
                     □ Crème of Nature Herbarich Conditioning Crème Relaxer System Kit
Corporation/ Revlon
Group Holdings LLC/ □ Crème of Nature Herbarich Conditioning Crème Relaxer and Texturizing
                       System
Revlon
                     □ Crème of Nature Herbarich No Base Relaxer
                     □ Crème of Nature No Base Relaxer
                     □ Crème of Nature No Lye Relaxer
                     □ Crème of Nature Sodium Relaxer Kit
                     □ Crème Of Nature Cni No Lye Relaxer
                     □ Crème Of Nature Cni Sunflower & Coconut Oil - Creme
                     □ Crème Of Nature Eden Relaxer
                     □ Fabulaxer No-Lye Relaxer

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     Defendant                     Product List (Select All Applicable Products)
                      □ Fabulaxer Gro-7
                      □ Revlon Realistic No-Base Relaxer
                      □ Revlon Realistic No Lye Relaxer Kit
                      □ Other (please specify):_________________________________

Strength of Nature,   □ African Pride Olive Miracle Deep Conditioning Crème-on-Crème No
LLC                     Lye Relaxer 8 Salon Pack Touch-Ups
                      □ African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer
                      □ African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer
                        With Aloe Deep Conditioner
                      □ African Pride Olive Miracle Deep Conditioning No-Lye Relaxer One
                        Complete Application
                      □ African Pride Olive Miracle Deep Conditioning No-Lye Relaxer, One
                        Complete Touch-Up
                      □ African Pride Shea Miracle Texture Softening Elongating System
                      □ African Pride Dream Kids Olive Miracle (4) Touch-Up Relaxer Kit
                      □ African Pride Dream Kids Olive Miracle Relaxer
                      □ African Pride Dream Kids Olive Miracle Touch-Up Relaxer Kit
                      □ Dr. Miracle’s No Lye Relaxer Kit
                      □ Dr. Miracle’s New Growth No-Lye Relaxer Kit
                      □ Elasta QP Normal Relaxer Kit
                      □ Elasta QP Normal Relaxer Kit 2 Applications
                      □ Elasta QP Resistant Relaxer Kit
                      □ Elasta QP Sensitive Scalp Kit 12 Application Economy Pack
                      □ Elasta QP Sensitive Scalp Kit – 4 Applications
                      □ Elasta QP No Base Crème Relaxer
                      □ Elasta QP SOY OYL No-Base Relaxer
                      □ Elasta QP SOY OYL 4 Application Anti-Dryness No Lye Relaxer Kit
                      □ Elasta QP No-Base Relaxer
                      □ Elasta QP Extra Body No-Base Regular Relaxer
                      □ Elasta QP Extra Body No-Base Super Relaxer
                      □ Gentle Treatment No-Lye Relaxer Gray Kit
                      □ Gentle Treatment No-Lye Relaxer
                      □ Just For Me Relaxer 1 Complete Touch Up Relaxer
                      □ Just For Me 4 Application Salon Pack Relaxer
                      □ Just For Me No-Lye Conditioning Crème Relaxer Kit
                      □ Just For Me No-Lye Conditioning Crème Relaxer Kit with Coil & Curl
                        Cream
                      □ Just For Me No-Lye Conditioning Crème Relaxer Kit (Super) with Oil
                        Moisturize Lotion
                      □ Just For Me No-Lye Texture Softener System
                      □ Just For Me No-Lye Texture Softener System with Hair & Scalp Butter
                      □ Motions Classic Formula Smooth & Silken Hair Relaxer

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  Defendant                      Product List (Select All Applicable Products)
                    □ Motions Professional 12-Application Salon Pack
                    □ Motions Silkening Shine No Lye Relaxer Kit
                    □ Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 2 Touch Up
                      Application
                    □ Profectiv MegaGrowth Anti-Damage No-Lye Relaxer 1 Complete Touch
                      Up Application
                    □ Profectiv Procision Relaxer Kit Regular
                    □ Profectiv Relax and Refresh Kit Auburn Spice
                    □ Profectiv Relax and Refresh Kit Cherry Fusion
                    □ Profectiv Relax and Refresh Kit Jet Black
                    □ Profectiv Relax and Refresh Kit Mahogany Brown
                    □ Profectiv Relax and Refresh Kit Silky Black
                    □ Pro-Line Comb Thru Texturizer Kit
                    □ SmartPerm No-Lye Anti-Breakage Relaxer System
                    □ SmartPerm No-Lye Anti-Breakage New Growth Relaxer System, Smart
                      Grow Stimulator
                    □ SmartPerm Smart Valu No-Lye Anti-Breakage Relaxer Kit, 4
                      Applications
                    □ Smart Perm Smart Valu Smart Gro Stimulator New Growth No-Lye
                      Relaxer with GroRehab 4 Applications
                    □ S&B® Botanicals™ 2 Application Relaxer
                    □ S&B® Botanicals™ No-Lye Sensitive Scalp Relaxer, 1-App
                    □ S&B® Botanicals™ No-Mix Texturizer 2-App, with Deep Conditioner
                    □ S&B® Botanicals™ No-Mix Texturizer 2-App
                    □ S&B® Botanicals™ Relaxer 8-Touch Up
                    □ Soft & Beautiful No-Lye Crème Relaxer
                    □ Soft & Beautiful No-Lye Ultimate Conditioning Relaxer System
                    □ TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                      Relaxer
                    □ TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye
                      Relaxer, 2 Applications
                    □ TCB No-Base Crème Hair Relaxer with Protein & DNA
                    □ UltraSheen Supreme Conditioning No-Lye Relaxer
                    □ UltraSheen Ultra Moisturizing No-Lye Relaxer
                    □ UltraSheen Ultra Moisturizing No-Lye Relaxer, with Keratin
                    □ Other (please specify):__________________________________


      7.      Other manufacturer(s)/product(s) used by Plaintiff not identified above:

Cantu Advanced Clinical Strengthening No Lye Relaxer System
______________________________________________________________________________

_____________________________________________________________________________.


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       8.      Plaintiff’s use of Defendant(s) hair relaxer product(s) caused serious injuries and

damages including but not limited to the following:

       □       Uterine Cancer
       □       Endometrial Cancer
       □       Ovarian Cancer
       □       Other injuries and/or additional details (please specify):

       9.      Approximate date of diagnosis (injury(ies)), that

forms the basis of Plaintiff’s claim(s): __ On or about plaintiff was diagnosed with Endometrial

Cancer (Clear Cell Adenocarcinoma of Endometrium)_________________________

       CAUSES OF ACTION AND THEORIES OF RECOVERY ADOPTED AND
                    INCORPORATED IN THIS LAWSUIT

       10.      Plaintiff hereby adopts and incorporates by reference as if set forth fully

herein, all common factual allegations contained in paragraphs 1 through 114 of the Master Long

Form Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices,

and Products Liability Litigation, MDL No. 3060.

       11.      Plaintiff hereby adopts and incorporates by reference as if set forth fully

herein, the following Causes of Action and the Prayer for Relief within the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the Northern

District of Illinois in the matter entitled In Re: Hair Relaxer Marketing, Sales Practices, and

Products Liability Litigation, MDL No. 3060:

        □       Count I – Negligence and/or Gross Negligence

        □       Count II – Negligent Misrepresentation

        □       Count III – Negligence Per Se

        □       Count IV – Strict Liability: Design Defect


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        □       Count V – Strict Liability: Failure to Warn

        □       Count VI – Breach of Implied Warranty of Merchantability/ Fitness for a
                Particular Use

        □       Count VII – Breach of Express Warranty under state law and the Magnuson-
                Moss Warranty Act, 15 U.S.C. § 2301 et seq.

        □       Count VIII – Fraud/ Fraudulent Misrepresentation

        □       Count IX – Fraudulent Concealment

        □       Count X – U.S. State and Territory Statutory Consumer Protection and Unfair
                or Deceptive Trade Practices Claims

        □       Count XI – Unjust Enrichment ]

        □       Count XII – Wrongful Death

        □       Count XIII – Survival Action

        □       Count XIV – Loss of Consortium

        □       Count XV – Punitive Damages

        □       Other Causes of Action:

                _________________________________________________________________

                _________________________________________________________________

                ________________________________________________________________.


       12.      Consortium Claim(s) (if applicable): The following individual(s) allege(s)

damages for loss of consortium:

_________N/A_________________________________________________________________.

       13.      Survival and/or Wrongful Death Claim(s) (if applicable): The following

individual(s)    allege(s)     damages       for    survival     and/or     wrongful         death:

________N/A__________________________________________________________________.



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                                        JURY DEMAND

     Plaintiff demands a trial by jury as to all claims in this action.



Dated this the 16th day of _October, 2023.



                               RESPECTFULLY SUBMITTED
                               ON BEHALF OF THE PLAINTIFF,

                                                      /s/ Chelsie L. Green
                                                      Chelsie L. Green, Esq.
                                                      Bar No.: 1008278
                                                      Brian Barr, Esq.
                                                      Levin, Papantonio, Rafferty, Proctor,
                                                      Buchanan, O’Brien, Barr & Mougey, P.A.
                                                      316 South Baylen Street, Suite 600
                                                      Pensacola, Florida 32502
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                                                      Counsel for Plaintiff




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